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       UNITED STATES OF AMERICA
12
                              UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                    WESTERN DIVISION
15
      UNITED STATES OF AMERICA,                 Case No. 2:21-cv-06965-RGK-MAR
16
                 Plaintiff,                     PLAINTIFF UNITED STATES OF
17                                              AMERICA’S REPORT REGARDING
                        v.                      STATUS OF ONGOING CRIMINAL
18                                              INVESTIGATION
      $600,980.00 IN U.S. CURRENCY,
19
                 Defendant.
20
21
22
23 MITCHELL MAGEE,
24         Claimant.

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26     ///
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     Case 2:21-cv-06965-RGK-MAR Document 45 Filed 06/06/22 Page 2 of 2 Page ID #:372




 1           Pursuant to the Court’s Order filed March 8, 2022 on Plaintiff’s Motion to Stay
 2     This Civil Forfeiture Proceeding, the Court stayed this civil forfeiture action pursuant to
 3     18 U.S.C. § 981(g) pending an ongoing related federal criminal investigation. Docket
 4     No. 38. The Court’s order instructed the government to file reports every ninety (90)
 5     days, commencing June 6, 2022, regarding the status of the criminal investigation.
 6     Accordingly, the government is hereby submitting this report regarding the status of the
 7     related federal criminal investigation.
 8           The related federal criminal investigation is ongoing. Pursuant to the Court’s
 9     Order filed March 8, 2022, the government will submit its next status report within 90
10     days of the filing of this status report (i.e., by September 6, 2022).
11
12     Dated: June 6, 2022                            Respectfully submitted,
13                                                    TRACY L. WILKISON
                                                      United States Attorney
14                                                    SCOTT M. GARRINGER
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15                                                    Chief, Criminal Division
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17
                                                            /s/             _____________
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